Case 2:20-cv-09582-JFW-E Document 487-2 Filed 02/28/23 Page 1 of 3 Page ID #:38310




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    8                           UNITED STATES DISTRICT COURT
    9            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   11 VANESSA BRYANT,                              CASE NO. 2:20-cv-09582-JFW-E
   12                                              (Lead Case) (Consolidated with 2:20-
              Plaintiff,                           cv-10844-JFW-E)
   13
          v.                                       [PROPOSED] ORDER GRANTING
   14                                              STIPULATION TO AMEND
   15 COUNTY OF LOS ANGELES, et al.,               COMPLAINT AND SET CASE
                                                   DEADLINES
   16                  Defendants.
   17 CHRISTOPHER L. CHESTER,
   18                  Plaintiff,
   19
                 v.
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        COUNTY OF LOS ANGELES, et al.,             Assigned to the Hon. John F. Walter
   21                                              and Magistrate Judge Charles F. Eick
   22                  Defendants.

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                 ORDER GRANTING STIPULATION TO AMEND COMPLAINT AND SET CASE DEADLINES
Case 2:20-cv-09582-JFW-E Document 487-2 Filed 02/28/23 Page 2 of 3 Page ID #:38311




    1                                             ORDER
    2            The Court, having reviewed the Joint Notice of Settlement and Stipulation to
    3 Amend Complaint and Set Case Deadlines (“Stipulation”) lodged by Plaintiff
    4 Vanessa Bryant (on behalf of herself and her minor children B.B. and C.B.) and
    5 Defendants Los Angeles County Sheriff’s Department, County of Los Angeles, Los
    6 Angeles County Fire Department, Joey Cruz, Rafael Mejia, Michael Russell, and
    7 Raul Versales (collectively, “Defendants”), and for good cause shown, HEREBY
    8 ORDERS as follows:
    9            1.    The Stipulation is GRANTED.
   10            2.    Plaintiff Vanessa Bryant and her minor children, B.B. and C.B., may
   11                  file a Second Amended Complaint (which was attached as Exhibit 1 to
   12                  the Stipulation) adding B.B. and C.B. as plaintiffs and asserting claims
   13                  by B.B. and C.B. that are similar to those asserted by Vanessa Bryant;
   14            3.    Defendants shall not be required to answer the Second Amended
   15                  Complaint, and all denials, responses, and affirmative defenses
   16                  contained in the answer filed by Defendants to the First Amended
   17                  Complaint shall be deemed responsive to the Second Amended
   18                  Complaint, including as to allegations by plaintiffs B.B. and C.B.;
   19            4.    The parties shall file a petition to approve the settlement as to minor
   20                  children B.B. and C.B., consistent with L.R. 17-1.2 et seq. and
   21                  applicable substantive and procedural requirements of California law,
   22                  no later than March 28, 2023, and any hearing thereon shall be set for
   23                  the first available date after the petition is filed;
   24            5.    All other case deadlines—including the deadline for Plaintiff Vanessa
   25                  Bryant file an opposition to Defendants’ renewed Motion pursuant to
   26                  Federal Rule of Civil Procedure 50(b), the deadline for Plaintiff
   27                  Vanessa Bryant to submit a statement regarding whether she intends to
   28                  pursue her state law causes of action, and the deadline for Plaintiff
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                 ORDER GRANTING STIPULATION TO AMEND COMPLAINT AND SET CASE DEADLINES
Case 2:20-cv-09582-JFW-E Document 487-2 Filed 02/28/23 Page 3 of 3 Page ID #:38312




    1                  Vanessa Bryant to file her motion for attorneys’ fees and related
    2                  nontaxable expenses pursuant to Federal Rule of Civil Procedure
    3                  54(d)(2)—are vacated pending the parties’ filing of and the Court’s
    4                  ruling on the petition to approve the settlement as to the minor children;
    5                  and
    6            6.    Should it be necessary to reschedule any of the vacated deadlines
    7                  following the Court’s ruling on the petition, the parties shall submit a
    8                  stipulation for Court approval within one week of the Court’s ruling.
    9
        IT IS SO ORDERED.
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        DATED: ___________________
   13                                          HON. JOHN F. WALTER
   14                                          Judge of the United States District Court

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                 ORDER GRANTING STIPULATION TO AMEND COMPLAINT AND SET CASE DEADLINES
